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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GATEGUARD, INC.,
                                  Plaintiff,

                      -against-                             Case No. 1:19-cv-02472 (JLR)

 MVI SYSTEMS LLC, et al.,                                   NOTICE OF REASSIGNMENT

                                  Defendants.


JENNIFER L. ROCHON, United States District Judge:
       This case has been reassigned to the undersigned. All counsel must familiarize

                                        al Rules, which are available at

https://nysd.uscourts.gov/hon-jennifer-l-rochon. Unless and until the Court orders otherwise, all

prior orders, dates, and deadlines shall remain in effect notwithstanding th

Any conference or oral argument before or directed by the Magistrate Judge will proceed as

ordered. However, all previously-scheduled appearances or conferences before the District

Judge are hereby adjourned pending further notice from the Court.

       Additionally, within two weeks of the filing of this Order, the parties are hereby

ORDERED to file on ECF a joint letter updating the Court on the status of the case. The joint

letter shall not exceed four (4) pages, and shall provide the following information, to the extent it

is relevant, in separate paragraphs:

       1.       Names of counsel and current contact information, if different from the

                information currently reflected on the docket;

       2.       A brief statement of the nature of the case and/or the principal defenses thereto;

       3.       A brief explanation of why jurisdiction and venue lie in this Court. In any action

                in which subject matter jurisdiction is founded on diversity of citizenship

                pursuant to Title 28, United States Code, Section 1332, the letter must explain the
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                                                     of citizenship exists. Where any party is

         a corporation, the letter shall state both the place of incorporation and the

         principal place of business. In cases where any party is a partnership, limited

         partnership, limited liability company, or trust, the letter shall state the

                                                mbers, shareholders, partners, and/or

         trustees;

4.       A statement of all existing deadlines, due dates, and/or cut-off dates;

5.       A statement of any previously-scheduled conference dates with the Court that

         have not yet occurred and the matters that were to be discussed;

6.       A brief description of any outstanding motions, including the date of the motion

         and the nature of the relief sought;

7.       A statement and description of any pending appeals;

8.       A detailed statement of all discovery undertaken to date, including how many

         depositions each party has taken and what, if any, discovery remains that is

         essential for the parties to engage in meaningful settlement negotiations;

9.       A brief description of the status of prior settlement discussions, without

         disclosing exact offers and demands;

10.      A statement of whether the parties have discussed the use of alternate dispute

         resolution mechanisms and indicating whether the parties believe that (a) a

         settlement conference before a Magistrate Judge; (b) participation in the

                                      m; and/or (c) retention of a privately retained

         mediator would be appropriate and, if so, when in the case (e.g., within the next

         60 days, after the deposition of plaintiff is completed, after the close of fact

         discovery, etc.) the use of such a mechanism would be appropriate;

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       11.     An estimate of the length of trial; and

       12.     Any other information that the parties believe may assist the Court in advancing

               the case to settlement or trial, including, but not limited to, a description of any

               dispositive or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel need not submit such letter

or appear, provided that a stipulation of discontinuance, voluntary dismissal, or other proof of

termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available

at http://nysd.uscourts.gov/ecf_filing.php. Requests for extensions or adjournment of dates not

affected by this Order may be made only in ac                             s Individual Rules and

Practices, which are available at https://nysd.uscourts.gov/hon-jennifer-l-rochon.

Dated: September 23, 2022
       New York, New York

                                                            SO ORDERED.


                                                           JENNIFER L. ROCHON
                                                           United States District Judge




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